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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                  8:13CR88
       vs.                                   )
                                             )                   ORDER
JUAN AVALOS,                                 )
                                             )
                     Defendant.              )
                                             )


       This matter is before the court on the motion to continue trial [34] as counsel has
just been retained and requires time to adequately prepare for trial. For good cause
shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for August 27, 2013 is continued to October 1, 2013.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and October 1, 2013, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED August 2, 2013.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
